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 1
      KUZYK LAW, LLP
      Michael D. Braun (SBN 167416)
 2    2121 Avenue of the Stars, Ste. 800
 3    Los Angeles, California 90067
      Telephone: (213) 401-4100
 4    Facsimile: (213) 401-0311
 5    Email: mdb@kuzykclassactions.com

 6    Counsel for Plaintiffs
 7

 8                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
 9

10
     KATY THOMAS and KIM                           CASE NO.: 3:25-cv-4114
11   ANTWINE on behalf of themselves               CLASS ACTION
     and all others similarly situated,
12
                                                   COMPLAINT FOR DAMAGES,
13                                 Plaintiffs,     EQUITABLE, DECLARATORY, AND
     v.                                            INJUNCTIVE RELIEF
14

15   WALMART, INC.
16                                 Defendant
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 1            Plaintiffs Katy Thomas and Kim Antwine (“Plaintiffs”), on behalf of
 2   themselves and all others similarly situated, bring this class action against Walmart,
 3   Inc. (“Walmart” or “Defendant”), and on the basis of personal knowledge, information
 4   and belief, and the investigation of counsel, allege as follows:
 5

 6                                           INTRODUCTION
 7
              1.      This is a proposed class action on behalf of a nationwide and California
 8
     class (collectively, “Class”) of consumers seeking redress for Defendant’s deceptive
 9
     practices associated with the advertising, labeling, and sale of its Equate Apple Cider
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     Vinegar Gummy Dietary Supplement (“Products”).
11

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              2.      Apple Cider Vinegar (“ACV”) is a type of vinegar made from fermented

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     apple juice. It consists principally of acetic acid, which is responsible for its taste and

14
     numerous health benefits including: promotion of weight loss, lowering of blood

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     sugar and cholesterol levels, improvement of gut and heart health and reduction of

16
     inflammation, among others.

17            3.      The health benefits associated with ACV have made it a popular choice
18   among consumers. In 2024, U.S. ACV sales exceeded $300 million with continued
19   growth expected over the next ten years.
20
              4.      “The marketing industry is based on the premise that labels matter—that
21
     consumers will choose one product over another similar product based on its label and
22
     various tangible and intangible qualities they may come to associate with a particular
23
     source…. [C]onsumers rely on the accuracy of those representations in making their
24
     buying decisions.”1
25

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     1
28       Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 328 (2011).

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 1         5.     While this proposition holds true with respect to all consumer goods, it is
 2   even more pertinent when it comes to consumer goods that are directly related to a
 3   consumer’s health and wellness, as is the case with dietary supplements. Its
 4   importance even more consequential when, as is the case here, consumers possess
 5   neither the scientific knowledge, nor the independent ability to verify the contents of a
 6   dietary supplement prior to its purchase but instead must rely entirely on the honesty
 7   and integrity of the manufacturers and sellers of the product.
 8         6.     Walmart markets, advertises, and sells a line of Apple Cider Vinegar
 9   Adult Gummy Dietary Supplements under the Equate brand name. The Product’s
10   principal display panel claims that it is Apple Cider Vinegar. The Supplement Fact
11   Section states that each gummy contains 500 mg of Apple Cider Vinegar.
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 1         7.     By law, any product claiming to be Apple Cider Vinegar must contain a
 2   minimum of 4% acetic acid. Anything less, the product is not and cannot be called
 3   Apple Cider Vinegar and its content rendered inefficacious and worthless.
 4         8.     Plaintiffs conducted analytical testing on 12 representative samples of
 5   Walmart’s Equate Apple Cider Vinegar Gummies which reveal that the Products,
 6   contrary to their labels, contain approximately only 2.5% acetic acid rendering its
 7   claim to be “Apple Cider Vinegar” false, misleading, deceptive and unlawful and the
 8   Product itself worthless.
 9
           9.     Throughout the applicable Class Period, Defendant has falsely
10
     represented the true nature of its Product. As a result of this false and misleading
11
     labeling, Defendant was able to sell them to thousands of unsuspecting consumers
12
     throughout California and the United States.
13
           10.    Plaintiffs allege that Defendant’s conduct is in breach of express
14
     warranty, violates California’s Business and Professions Code § 17200, et. seq.,
15
     California’s Business & Professions Code § l7500, et. seq., California Civil Code §
16
     1750, et seq., and is otherwise grounds for restitution on the basis of quasi-
17
     contract/unjust enrichment.
18

19                               JURISDICTION AND VENUE
20         11.    Jurisdiction of this Court is proper under 28 U.S.C. § 1332(d)(2).
21   Diversity jurisdiction exists as Plaintiffs Thomas and Antwine are California residents
22   located in Napa and Los Angeles counties, respectively. Defendant Walmart is a
23   Delaware corporation which maintains its principal place of business in Bentonville,
24   Arkansas. The amount in controversy exceeds $5,000,000 for the Plaintiffs and
25   members of the Class collectively, exclusive of interest and costs, by virtue of the
26   combined purchase prices paid by Plaintiffs and members of the putative Class, and
27   the profits reaped by Defendant from its transactions with Plaintiffs and the Class, as a
28

                                                     3
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 1   direct and proximate result of the wrongful conduct alleged herein, and by virtue of
 2   the injunctive and equitable relief sought.
 3          12.    Venue is proper within this judicial district pursuant to 28 U.S.C. § 1391
 4   because a substantial portion of the underlying transactions and events complained of
 5   occurred and affected persons and entities located in this judicial district. Defendant
 6   has received substantial compensation for affected transactions and business activity
 7   in this judicial district.
 8
                                                PARTIES
 9

10         13.     Plaintiff Katy Thomas is a resident of Napa, California.
11
           14.     Ms. Thomas purchased Defendant’s Equate Apple Cider Vinegar
12
     Products approximately 5-7 times a year between 2022-2024 from Walmart stores
13
     located in, among other places, Vallejo, Napa Valley and Pittsburg California. Ms.
14
     Thomas principally purchased ACV to assist with weight loss.
15
           15.     Ms. Thomas made each of her purchases after reading and relying on
16
     Defendant’s Product label, including the principal representation that the Product was
17
     Apple Cider Vinegar and contained the represented amounts of ACV.
18

19         16.     Ms. Thomas believed that Defendant lawfully marketed and sold the
20   Product.
21
           17.     Ms. Thomas read and relied on Defendant’s labeling and was misled
22
     thereby.
23
           18.     Ms. Thomas would not have purchased the Product, or would have
24
     purchased the Product on different terms, had she known the truth.
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26         19.     Ms. Thomas was injured in fact and lost money as a result of Defendant’s
27   improper conduct.
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 1        20.    Plaintiff Kim Antwine is a resident of Los Angeles, California.
 2
          21.    Ms. Antwine purchased Defendant’s Equate Apple Cider Vinegar
 3
     Products once or twice a month between 2022-2024 from Walmart stores located in
 4
     Lakewood and Downey, California. Ms. Antwine principally purchased ACV to assist
 5
     with weight loss.
 6
          22.    Ms. Antwine made each of her purchases after reading and relying on
 7
     Defendant’s Product label, including the principal representation that the Product was
 8
     Apple Cider Vinegar and contained the represented amounts of ACV.
 9

10        23.    Ms. Antwine believed that Defendant lawfully marketed and sold the
11   Product.
12
          24.    Ms. Antwine read and relied on Defendant’s labeling and was misled
13
     thereby.
14
          25.    Ms. Antwine would not have purchased the Product, or would have
15
     purchased the Product on different terms, had she known the truth.
16

17        26.    Ms. Antwine was injured in fact and lost money as a result of
18   Defendant’s improper conduct.
19
          27.    Plaintiffs and members of the Class have been economically damaged by
20
     their purchases of the Products because the advertising for the Products was deceptive
21
     and/or misleading under California laws and the Products are misbranded and
22
     adulterated; therefore, the Products are worth nothing or at a minimum less than what
23
     Plaintiff and members of the Class paid for them and/or Plaintiffs and members of the
24
     Class did not receive what they reasonably intended to receive.
25
           28.   Defendant Walmart is incorporated in Delaware and headquartered in
26
     Bentonville, Arkansas. Walmart is one of America’s largest retail corporations
27
     operating chains of supercenters, department and grocery stores across the United
28

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 1   States, including more than 300 of which are located in California.2 Walmart
 2   manufactures and sells dietary supplements under the trademarked name Equate.3
 3

 4                                        GENERAL ALLEGATIONS
 5   A.        Apple Cider Vinegar
 6
               29.   Apple cider vinegar is a type of vinegar made through the fermentation of
 7
         apple juice. The juice is exposed to yeast to ferment the sugars into alcohol. Bacteria
 8
         converts the alcohol into acetic acid, the primary active compound in vinegar
 9
         responsible for its taste and health benefits.
10
               30.   “Research suggests that apple cider vinegar may have beneficial health
11
         properties, including antimicrobial and antioxidant effects.” 4 It has become a
12
         popular over the counter dietary supplement choice among consumers because of its
13

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     2
23    https://www.statista.com/statistics/1167169/walmart-number-of-stores-by-state-us/. Last visited
     November 24, 2024.
24
     3
         https://trademarks.justia.com/736/40/equate-73640066.html. Last visited November 24, 2024.
25
     4
      Gunnars, K, 6 Health Benefits of Apple Cider Vinegar, Backed by Science, Healthline, April 2024.
26   Available at https://www.healthline.com/nutrition/6-proven-health-benefits-of-apple-cider-vinegar.
     Last visited November 28, 2024.
27

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 1       potential beneficial effects on a myriad of health issues including: weight loss,5 blood
 2       sugar levels,6 cholesterol levels, and heart health,7 among others.
 3
               31.    Acetic acid is apple cider vinegar’s primary active compound, giving it
 4
         its strong sour smell and flavor and most importantly, is responsible for apple cider
 5
         vinegar’s health benefits. While the most efficacious form of ACV is typically as a
 6
         liquid, ACV gummies were created to deliver the “benefits” of ACV without the
 7
         harsh taste of pure vinegar.8
 8
               32.    As a result of its numerous health benefits, Apple cider vinegar has
 9
         become a popular choice among consumers. “Apple cider vinegar products are
10
         continuing to grow in popularity as consumers look for a panacea that can address an
11
         array of health concerns. For blood pressure and cholesterol support to weight
12
         management and more, consumers are finding apple cider vinegar a useful
13

14

15

16
     5
17    Hasan, et al, The Effects of Vinegar/Acetic Acid Intake on Appetite Measures and Energy
     Consumption: A Systematic Literature Review (2022), National Institute of Health, National Library
18   of Medicine, National Center for Biotechnology Information. Available at
     https://pmc.ncbi.nlm.nih.gov/articles/PMC9193460/. Last visited November 22, 2024
19
     6
20    Hadi, et al, The effect of apple vinegar consumption on glycemic indices, blood pressure, oxidative
     stress, and homocysteine in patients with type 2 diabetes and dyslipidemia: A randomized controlled
21   clinical trial (2019), National Institute of Health, National Library of Medicine, National Center for
     Biotechnology Information. Available at https://pubmed.ncbi.nlm.nih.gov/31451249/. Last visited
22   November 22, 2024; Gheflati, at al., The effect of apple cider vinegar on lipid profiles and glycemic
     parameters: a systematic review and meta-analysis of randomized clinical trials (2021), National
23
     Institute of Health, National Library of Medicice, National Center for Biotechnology Information.
24   Available at https://pmc.ncbi.nlm.nih.gov/articles/PMC8243436/. Last visited November 22, 2024.
     7
25    Launholt, at al., Safety and side effects of apple vinegar intake and its effect on metabolic
     parameters and body weight: a systematic review (2020), National Institute of Health, National
26   Library of Medicine, National Center for Biotechnology Information. Available at
     https://pubmed.ncbi.nlm.nih.gov/32170375/. Last visited November 22, 2024
27
     8
28       See supra, note 4.

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 1       supplement.”9 As a result, the global apple cider vinegar market size was estimated at
 2       $644.44 million in 2024 and projected to grow over 1 billion by 2032.10
 3
     B.       Acetic Acid
 4

 5            33.     The Federal Food, Drug & Cosmetic Act (“FDCA”) broadly regulates
 6   the sale of dietary supplements to the consuming public. 21 U.S.C §301.11 It was
 7   promulgated in significant part to prevent consumer deception and was principally
 8   implemented through the creation of a uniform system of labeling on which
 9   consumers could rely to make informed purchasing decisions.
10            34.    Among its mandates, the principal display panel of a dietary supplement
11   shall bear as one of its principal features a statement of the identity of the commodity.
12   21 C.F.R. §101.3 As a general matter, the statement of identity of a dietary
13   supplement is the name specified by federal law or regulation, or, if no such name is
14   specified, its common or usual name.12
15

16

17   9
      Why is apple cider vinegar so popular?, Nutritional Outlook, August 18 2023. Available at
     https://www.nutritionaloutlook.com/view/why-is-apple-cider-vinegar-so-popular. Last visited
18   November 30, 2024.
19   10
        Apple Cider Vinegar Market Size, Share & Industry Analysis, By Source (Organic and
20   Conventional), By Form (Liquid and Tablet), By Distribution Channel (Hypermarkets/Supermarkets,
     Online Channels, Traditional Grocery Stores, and Others), and Regional Forecast, 2024-2032,
21   Fortune Business Insights, November 04, 2024. Available at
     https://www.fortunebusinessinsights.com/apple-cider-vinegar-market-105136. Last visited
22   November 22, 2024.
23   11
       In 1994 the FDCA was amended by the Dietary Supplement Health and Education Act of 1994 to
24   bring dietary supplement under the broader purview of the FDCA. Among other things, it
     established a series of Good Manufacturing Practices to be employed by manufacturers of dietary
25   supplements to ensure the products meet their label claims.

26   12
        U.S. Food & Drug Administration Dietary Supplement Labeling Guide: Chapter II. Identity
     Statement (2016)(“ Dietary Supplement Labeling Guide”). Available at
27   https://www.fda.gov/food/dietary-supplements-guidance-documents-regulatory-information/dietary-
28   supplement-labeling-guide-chapter-ii-identity-statement. Last visited November 22, 2024.

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 1            35.    The U.S. Food and Drug Administration (“FDA”) has issued a
 2   Compliance Policy Guide (“CPG”) on the labeling of vinegars. CPG §525.825
 3   Vinegar, Definitions - Adulteration with Vinegar Eels. The FDA policy set forth in the
 4   CPG is unequivocal.
 5

 6
              FDA considers the following to be satisfactory guidelines for the labeling of
              vinegars:
 7

 8            Natural vinegars as they come from the generators normally contain in excess
              of 4 grams of acetic acid per 100 mL. When vinegar is diluted with water, the
 9            label must bear a statement such as "diluted with water to __ percent acid
10            strength", with the blank filled with the actual percent of acetic acid - in no case
              should it be less than 4 percent. Each of the varieties of vinegar listed below
11            should contain 4 grams of acetic acid per 100 mL.(20oC).
12
              VINEGAR, CIDER VINEGAR, APPLE VINEGAR. The product made by the
13            alcoholic and subsequent acetous fermentations of the juice of apples.13
14

15
              36.    Accordingly, any product claiming to be apple cider vinegar but contains

16
     less than 4% acetic acid is not apple cider vinegar. Therefore, labeling it as such is

17
     false, misleading, deceptive and in violation of the law. Moreover, failure to provide

18
     the minimum of 4% acetic acid nullifies any of the potential health benefits that could

19
     be derived from consuming apple cider vinegar and further renders this Product

20
     worthless.

21
              37.    For every dietary supplement, the FDCA requires that the “list of dietary

22
     ingredients [] include the quantity of each such ingredient per serving[.]” 21 U.S.C. §

23
     343(q)(5)(F)(ii). “A food with a label declaration of a vitamin . . . shall be deemed to

24
     be misbranded under section 403(a) of the FDCA unless it meets the following

25
     requirement . . . [w]hen a vitamin . . . meets the definition of a Class I nutrient, the

26

27
     13
28        https://www.fda.gov/media/71937/download.

                                                        9
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 1   nutrient content of the composite must be formulated to be at least equal to the value
 2   for that nutrient declared on the label.” Id. §101.9(g)(4)(i).
 3          38.      A dietary supplement is also considered adulterated when 21 U.S. Code §
 4   342 (g)(1) “…it has been prepared, packed, or held under conditions that do not meet
 5   current good manufacturing practice regulations [(“cGMP”)].” Here, among other
 6   things, cGMP requires that: that a dietary supplement consistently meet the
 7   established specifications for its identity, purity, strength, and composition, 21 C.F.R.
 8   §111.3 and that each batch is tested to verify specifications for identity, purity,
 9   strength, composition. 21 C.F.R. §111.75(c).
10          39.      Although its axiomatic – that a dietary supplement label must
11   accurately reflect the identity of its ingredients and their respective amounts -
12   - the FDA’s Dietary Supplement Labeling Guide makes this abundantly clear.
13

14
                  Must dietary ingredients that I have added to my
                  products be present at 100% of the amount that I
15                declare?
16
                  For dietary ingredients that are specifically added, your
17                product must contain 100% of the volume or weight
18                that you have declared on the label, with the exception
                  of a deviation that is attributable to the analytical
19                method. Products that contain less than this amount
20                of such a dietary ingredient would be misbranded
                  and in violation of the law. Dietary ingredients that are
21                naturally-occurring must be present at 80% of the
22                declared value.

23
     21 CFR §101.9(g)(3) and (g)(4)(emphasis added).14

24

25

26   14
       FDA, Dietary Supplement Labeling Guide Chapter IV. Nutrition Labeling, Available at
     https://www.fda.gov/food/dietary-supplements-guidance-documents-regulatory-
27   information/dietary-supplement-labeling-guide-chapter-iv-nutrition-labeling. Last visited
28   November 30, 2024

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 1          40.    While these fundamental violations of the FDCA serve to highlight the
 2   deceptive and misleading nature of Defendant’s labeling, significantly, Plaintiffs do
 3   not seek to prosecute or enforce any aspect of the FDCA. Rather, California has
 4   expressly adopted federal labeling requirements as its own pursuant to the Sherman
 5   Food, Drug, and Cosmetic Law, Cal. Health & Safety Code § 109875 et seq. (the
 6   “Sherman Law”). Moreover, Plaintiffs’ allegations that Defendant failed to properly
 7   label its Products independently give rise to their stated causes of action detailed
 8   below.
 9
     C.     Plaintiffs’ Analytical Testing
10

11          41.    Plaintiffs conducted analytical testing on 12 samples of Defendant’s
12   Equate ACV gummies. Test results demonstrate that Equate Supplements contain
13   approximately only 2.5% acetic acid and accordingly do not contain the promised 500
14   mg of ACV and are worthless.15
15          42.    As detailed above, a product containing less than 4% acetic acid, by law,
16   is not considered apple cider vinegar. Naming, marketing and selling it as such is
17   false, misleading and in violation of the law.
18          43.    By failing to properly label its Product, Defendant has misled and
19    deceived consumers in violation of the laws pled herein.
20          44.    As a result of Defendant’s unlawful and deceptive conduct, Plaintiffs and
21    members of the Class have been harmed.
22

23

24

25

26   15
       Although not required to do so, Plaintiff conducted testing consistent with the FDA’s protocol
     under 21 C.F.R. §101.9(g)(2). The specific lot numbers tested were transmitted to Defendant in the
27   form of a demand pursuant to California Civil Code §1782 transmitted on or about October 17,
28   2024.

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     D.     No Adequate Remedy At Law
 1

 2          45.   Plaintiffs and members of the Class are entitled to equitable relief as no
 3   adequate remedy at law exists.
 4
            46.   Broader Statutes of Limitations. The statutes of limitations for the causes
 5
     of action pled herein vary. The limitations period is four years for claims brought
 6
     under the UCL, which is one year longer than the statutes of limitations for damages
 7
     claims under the CLRA.
 8
            47.   Broader Scope of Conduct. The scope of actionable misconduct under the
 9
     unfair prong of the UCL is broader than the other causes of action asserted herein.
10
     The UCL creates a cause of action for violations of other laws (e.g., Sherman Law),
11
     which does not require, among other things, that a reasonable consumer would have
12
     been deceived in order to establish a violation. Thus, Plaintiffs and Class members
13
     may be entitled to restitution under the UCL, while not entitled to damages under
14
     other causes of action asserted herein (e.g., the FAL requires actual or constructive
15
     knowledge of the falsity; the CLRA is limited to certain types of plaintiffs (an
16
     individual who seeks or acquires, by purchase or lease, any goods or services for
17
     personal, family, or household purposes) and other statutorily enumerated conduct).
18

19          48.   Injunctive Relief to Cease Misconduct and Dispel Misperception.
20   Injunctive relief is appropriate on behalf of Plaintiffs and members of the Class
21   because Defendant continues to misrepresent the Products with the challenged
22   representations. Injunctive relief is necessary to prevent Defendant from continuing
23   to engage in the unfair, fraudulent, and/or unlawful conduct described herein and to
24   prevent future harm—none of which can be achieved through available legal
25   remedies (such as monetary damages to compensate past harm).
26
            49.   Further, injunctive relief, in the form of affirmative disclosures are
27
     necessary to dispel the public misperception about the Product that has resulted from
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 1   years of Defendant’s unfair, fraudulent, and unlawful marketing efforts. Such
 2   disclosures would include, but are not limited to, publicly disseminated statements
 3   that the Product’s challenged representations are not true and provide accurate
 4   information about the Product’s true nature; and/or requiring prominent qualifications
 5   and/or disclaimers on the Product’s front label concerning the Product’s true nature.
 6
           50.   An injunction requiring affirmative disclosures to dispel the public’s
 7
     misperception and prevent the ongoing deception and repeat purchases based thereon,
 8
     is also not available through a legal remedy (such as monetary damages).
 9
           51.   Procedural Posture—Incomplete Discovery & Pre-Certification. Lastly,
10
     this is an initial pleading in this action and discovery has not yet commenced. No
11
     class has been certified. No expert discovery has commenced. The completion of fact
12
     and expert discovery, as well as the certification of this case as a class action, are
13
     necessary to finalize and determine the adequacy and availability of all remedies,
14
     including legal and equitable, for Plaintiffs’ individual claims and any certified class.
15
     Plaintiffs therefore reserves her right to amend this complaint and/or assert additional
16
     facts that demonstrate this Court’s jurisdiction to order equitable remedies where no
17
     adequate legal remedies are available for either Plaintiffs and/or any certified class.
18
     Such proof, to the extent necessary, will be presented prior to the trial of any
19
     equitable claims for relief and/or the entry of an order granting equitable relief.
20

21                                     ECONOMIC INJURY
22         52.   Plaintiffs sought to buy Products that were lawfully labeled, marketed,
23   and sold.
24
           53.   Plaintiffs saw and relied on Defendant’s misleading labeling of its
25
     Products.
26
           54.   Walmart guaranteed, and Plaintiffs believed that the purchased Products
27
     contained ACV, and in the amounts promised on the label.
28

                                                    13
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 1        55.    Plaintiffs believed that the Products were lawfully marketed and sold.
 2
          56.    In reliance on the claims made by Defendant regarding the qualities of
 3
     their Products, Plaintiffs paid for the Product, or at a minimum, paid a price premium
 4
     for the Product.
 5
          57.    As a result of their reliance on Defendant’s misrepresentations, Plaintiffs
 6
     received Products that did not contain the promised ingredient, or at a minimum, not
 7
     in the specified amounts.
 8

 9        58.    Plaintiffs received Products that were unlawfully marketed and sold.
10
          59.    Plaintiffs lost money and thereby suffered injury as they would not have
11
     purchased these Products and/or paid as much for them absent the misrepresentation.
12
          60.    Defendant knows that the statement of identity of a product is material to
13
     a consumer’s purchasing decision.
14

15        61.    Plaintiffs altered their positions to their detriment and suffered damages
16   in an amount equal to the amounts they paid for the Products they purchased, and/or
17   in additional amounts attributable to the deception.
18
          62.    By engaging in the false and deceptive conduct alleged herein, Defendant
19
     reaped and continues to reap financial benefits in the form of sales and profits from
20
     its Products.
21
          63.    Plaintiffs, however, would be willing to purchase Defendant’s Apple
22
     Cider Vinegar Products again in the future should they be able to rely with any
23
     confidence on Defendant’s marketing as truthful and not deceptive.
24

25        64.    Without an injunction, however, Plaintiffs will not be able to purchase
26   Defendant’s Product in the future, even though Plaintiffs would like to, since simply
27   viewing the ingredient list on Defendant’s Product will not afford Plaintiffs the
28   opportunity to determine the actual contents of the Product.
                                                      14
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 1                                   CLASS ACTION ALLEGATIONS
 2             65.      Plaintiffs bring this action on behalf of themselves and on behalf of
 3   classes of all others similarly situated consumers defined as follows:
 4                         a. California: All persons in California who purchased the Class
 5                            Products in California during the Class Period; 16

 6                         b. Nationwide: All persons nationwide who purchased the Class
                              Products anywhere in the United States during the Class Period;
 7
                           c. Class Period is the maximum time allowable as determined by the
 8
                              statute of limitation periods accompanying each cause of action.
 9
               66.      Plaintiffs bring this class action pursuant to Federal Rule of Civil
10
     Procedure 23(a), and 23(b)(1), 23(b)(2), 23(b)(3) and 23(c)(4).
11

12             67.      Excluded from the Classes are: (i) Defendant and its employees,
13   principals, affiliated entities, legal representatives, successors and assigns; and (ii) the
14   judges to whom this action is assigned.
15
               68.      Upon information and belief, there are tens of thousands of members of
16
     the Class. Therefore, individual joinder of all members of the Class would be
17
     impracticable.
18
               69.      There is a well-defined community of interest in the questions of law and
19
     fact affecting the parties represented in this action.
20

21             70.      Common questions of law or fact exist as to all members of the Class.
22   These questions predominate over the questions affecting only individual Class
23   members. These common legal or factual questions include but are not limited to:
24                   a. Whether Defendant marketed, packaged, or sold the Class
25                      Products to Plaintiffs and those similarly situated using false,
                        misleading, or deceptive statements or representations;
26

27
     16
28        Collectively referred to as “Class or Classes.”

                                                            15
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 1
                 b. Whether Defendant omitted or misrepresented material facts
                    in connection with the sales of their Products;
 2
                 c. Whether Defendant participated in and pursued the common
 3
                    course of conduct complained of herein;
 4
                 d. Whether Defendant has been unjustly enriched as a result of
 5                  their unlawful business practices;
 6               e. Whether Defendant’s actions violate the Unfair Competition
 7                  Law, Cal. Bus. & Prof. Code §§17200, et seq. (the “UCL”);

 8               f. Whether Defendant’s actions violate the False Advertising
                    Law, Cal. Bus. & Prof. Code §§17500, et seq. (the “FAL”);
 9
                 g. Whether Defendant’s actions violate the Consumers Legal
10
                    Remedies Act, Cal. Civ. Code §§1750, et seq. (the “CLRA”);
11
                 h. Whether Defendant’s actions constitute breach of express
12                  warranty;
13               i. Whether Defendant should be enjoined from continuing the
14                  above-described practices;
15               j. Whether Plaintiff and members of the Class are entitled to
16
                    declaratory relief; and

17               k. Whether Defendant should be required to make restitution,
                    disgorge profits, reimburse losses, and pay damages as a
18                  result of the above-described practices.
19
           71.       Plaintiffs’ claims are typical of the claims of the Class, in that Plaintiffs
20
     are consumers who purchased Defendant’s Product. Plaintiffs are no different in any
21
     relevant respect from any other Class member who purchased the Product, and the
22
     relief sought is common to the Class.
23

24         72.       Plaintiffs are adequate representatives of the Class because their interests
25   do not conflict with the interests of the members of the Class they seek to represent,
26   and they have retained counsel competent and experienced in conducting complex
27   class action litigation. Plaintiffs and their counsel will adequately protect the interests
28   of the Class.

                                                       16
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 1         73.    A class action is superior to other available means for the fair and
 2   efficient adjudication of this dispute. The damages suffered by each individual Class
 3   member will likely be relatively small, especially given the cost of the Products at
 4   issue and the burden and expense of individual prosecution of complex litigation
 5   necessitated by Defendant’s conduct. Thus, it would be virtually impossible for
 6   members of the Class individually to effectively redress the wrongs done to them.
 7   Moreover, even if members of the Class could afford individual actions, it would still
 8   not be preferable to class-wide litigation. Individualized actions present the potential
 9   for inconsistent or contradictory judgments. By contrast, a class action presents far
10   fewer management difficulties and provides the benefits of single adjudication,
11   economies of scale, and comprehensive supervision by a single court.
12
           74.    In the alternative, the Class may be certified because Defendant has acted
13
     or refused to act on grounds generally applicable to the Class, thereby making
14
     appropriate preliminary and final equitable relief with respect to each Class.
15
           75.    The requirements for maintaining a class action pursuant to Rule 23(b)(2)
16
     are also met, as Defendant has acted or refused to act on grounds generally applicable
17
     to the Class, thereby making appropriate final injunctive relief or corresponding
18
     declaratory relief with respect to the Class as a whole.
19

20

21

22

23

24

25

26

27

28

                                                    17
                   COMPLAINT FOR DAMAGES, EQUITABLE, DECLARATORY, AND INJUNCTIVE RELIEF
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 1
                                       CAUSES OF ACTION

 2                                FIRST CAUSE OF ACTION
                            Violation of Breach of Express Warranty
 3
           76.    Plaintiffs incorporate each and every allegation contained in the
 4
     paragraphs above as if rewritten herein.
 5

 6         77.    Plaintiffs’ express warranty claims are based on violations of Cal. Com.
 7   Code §2313. Defendant was afforded reasonable notice of this claim in advance of the
 8   filing of this complaint.
 9
           78.    Defendant made express warranties to Plaintiffs and members of the
10
     Class that the Product they purchased was Apple Cider Vinegar and present in a
11
     certain amount.
12
           79.    The express warranties made to Plaintiffs and members of the Class
13
     appear on every Product label. This warranty regarding the nature of the Product and
14
     promised ingredients contained therein marketed by Defendant specifically relates to
15
     the goods being purchased and became the basis of the bargain.
16

17         80.    Plaintiffs and Class members purchased the Products in the belief that
18   they conformed to the express warranties that were made on the Products’ labels.
19
           81.    Defendant breached the express warranties made to Plaintiffs and
20
     members of the Class by failing to supply goods that conformed to the warranties it
21
     made. As a result, Plaintiffs and members of the Class suffered injury and deserve to
22
     be compensated for the damages they suffered.
23
           82.    Plaintiffs and the members of the Class paid money for the Products.
24
     However, Plaintiffs and the members of the Class did not obtain any value, or at a
25
     minimum did not obtain the full value of the advertised Products. If Plaintiffs and
26
     other members of the Class had known of the true nature of the Products, they would
27
     not have purchased them or paid less for them. Accordingly, Plaintiffs and members
28

                                                     18
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 1   of the Class have suffered injury in fact and lost money or property as a result of
 2   Defendant’s wrongful conduct.
 3
           83.    Plaintiffs and Class members are therefore entitled to recover damages,
 4
     punitive damages, equitable relief such as restitution and disgorgement of profits, and
 5
     declaratory and injunctive relief.
 6

 7
                                SECOND CAUSE OF ACTION
 8
                                   Unlawful Business Practices
 9                     Violation of The Unfair Competition Law (“UCL”)
                               Bus. & Prof. Code §§17200, et seq.
10

11         84.    Plaintiffs incorporate each and every allegation contained in the
12   paragraphs above as if restated herein.
13
           85.    The UCL defines unfair business competition to include any “unlawful,
14
     unfair or fraudulent” act or practice, as well as any “unfair, deceptive, untrue or
15
     misleading” advertising. Cal. Bus. Prof. Code §17200.
16
           86.    A business act or practice is “unlawful” if it violates any established state
17
     or federal law.
18

19         87.    Defendant’s acts, omissions, misrepresentations, practices, and/or non-
20   disclosures concerning the Products alleged herein, constitute “unlawful” business
21   acts and practices in that they violate the Federal Food, Drug, and Cosmetic Act, 21
22   U.S.C. §§301, et seq. and its implementing regulations, including, at least, the
23   following sections:
24                     a. 21 U.S.C. §343(a), which deems food misbranded when its
                          labeling contains a statement that is false or misleading in any
25
                          particular;
26
                       b. 21 C.F.R. §102.5(a)-(d), which prohibits the naming of foods so as
27                        to create an erroneous impression about the presence or absence of
28                        ingredient(s) or component(s) therein;

                                                    19
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 1
                      c. 21 U.S.C. §§331and 333, which prohibits the introduction of
                         misbranded foods into interstate commerce.
 2
                      d. 21 U.S.C. §342(g)(1) which deems a dietary supplement
 3                       adulterated if it has been prepared, packed, or held under
 4                       conditions that do not meet current good manufacturing practice
                         regulations.
 5
            88.    California has expressly adopted federal labeling requirements as its own
 6
     pursuant to the Sherman Food, Drug, and Cosmetic Law, Cal. Health & Safety Code §
 7
     109875 et seq. (the “Sherman Law”), the Sherman Law, which provides that “[a]ll
 8
     food labeling regulations and any amendments to those regulations adopted pursuant
 9
     to the federal act, in effect on January 1, 1993, or adopted on or after that date shall be
10
     the food regulations of this state.” Cal. Health & Safety Code § 110100.
11

12          89.    Each of Defendant’s violations of federal law and regulations violates

13   California’s Sherman Food, Drug, and Cosmetic Law, Cal. Health & Safety Code §

14   109875 et seq. (“Sherman Law”), including, but not limited to, the following sections:

15          90.    Section 110100 (adopting all FDA regulations as state regulations);
16
            91.    Section 110290 (“In determining whether the labeling or advertisement
17
     of a food . . . is misleading, all representations made or suggested by statement, word,
18
     design, device, sound, or any combination of these, shall be taken into account.”);
19

20          92.    Section 110390 (“It is unlawful for any person to disseminate any false

21   advertisement of any food. . . . An advertisement is false if it is false or misleading in

22   any particular.”);

23          93.    Section 110395 (“It is unlawful for any person to manufacture, sell,
24   deliver, hold, or offer for sale any food . . . that is falsely advertised.”);
25
            94.    Section 110398 (“It is unlawful for any person to advertise any food,
26
     drug, device, or cosmetic that is adulterated or misbranded.”);
27

28

                                                     20
                    COMPLAINT FOR DAMAGES, EQUITABLE, DECLARATORY, AND INJUNCTIVE RELIEF
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 1          95.    Section 110400 (“It is unlawful for any person to receive in commerce
 2   any food . . . that is falsely advertised or to deliver or proffer for delivery any such
 3   food . . . .”); and
 4
            96.    Section 110660 (“Any food is misbranded if its labeling is false or
 5
     misleading in any particular.”).
 6
            97.    Each of the challenged omissions, statements, and actions by Defendant
 7
     violates the FDCA, and the Sherman Law, and, consequently, violates the “unlawful”
 8
     prong of the UCL.
 9

10          98.    Defendant’s conduct is further “unlawful” because it violates California’s
11   False Advertising Law, Cal. Bus. & Prof. Code § 17500 et seq. (the “FAL”),
12   California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1750 et seq. (the
13   “CLRA”), and breaches express warranty, as discussed in the claims above and below.
14
            99.    By committing the unlawful acts and practices alleged above, Defendant
15
     has engaged, and continues to be engaged, in unlawful business practices within the
16
     meaning of California Business and Professions Code §§17200, et seq.
17

18          100. In accordance with California Business & Professions Code Section
19   17203, and as Plaintiffs lack an adequate remedy at law, they seek an order enjoining
20   Defendant from continuing to conduct business through unlawful, unfair, and/or
21   fraudulent acts and practices and to commence a corrective advertising campaign.
22          101. Through their unlawful acts and practices, Defendant has obtained, and
23   continues to unfairly obtain, money from members of the Class. As such, Plaintiffs
24   request that this Court cause Defendant to restore this money to Plaintiffs and all
25   members of the Class to disgorge the profits Defendant made on these transactions,
26   and to enjoin Defendant from continuing to violate the Unfair Competition Law or
27   violating it in the same fashion in the future. Otherwise, the Class may be irreparably
28   harmed and denied an effective and complete remedy if such an order is not granted.

                                                      21
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 1
                                 THIRD CAUSE OF ACTION
 2                                 Unfair Business Practices
                           Violation of The Unfair Competition Law
 3                            Bus. & Prof. Code §§ 17200, et seq.
 4
           102. Plaintiffs incorporate each and every allegation contained in the
 5
     paragraphs above as if restated herein.
 6

 7         103. The UCL defines unfair business competition to include any “unlawful,

 8   unfair or fraudulent” act or practice, as well as any “unfair, deceptive, untrue or

 9   misleading” advertising. Cal. Bus. Prof. Code §17200.

10         104. A business act or practice is “unfair” under the Unfair Competition Law

11   if the reasons, justifications and motives of the alleged wrongdoer are outweighed by

12   the gravity of the harm to the alleged victims.

13         105. Defendant has violated, and continues to violate, the “unfair” prong of
14   the UCL through its misleading description of the Products. The gravity of the harm to
15   members of the Class resulting from such unfair acts and practices outweighs any
16   conceivable reasons, justifications, or motives of Defendant for engaging in such
17   deceptive acts and practices. By committing the acts and practices alleged above,
18   Defendant engaged, and continued to engage, in unfair business practices within the
19   meaning of California Business and Professions Code §17200, et seq.
20
           106. In accordance with California Business & Professions Code Section
21
     17203, and as Plaintiffs lack an adequate remedy at law, they seek an order enjoining
22
     Defendant from continuing to conduct business through unlawful, unfair, and/or
23
     fraudulent acts and practices and to commence a corrective advertising campaign.
24
           107. Through its unfair acts and practices, Defendant obtained, and continue
25
     to unfairly obtain, money from members of the Class. As such, Plaintiffs have been
26
     injured and requests that this Court cause Defendant to restore this money to Plaintiffs
27
     and the members of the Class, to disgorge the profits Defendant made on their
28

                                                    22
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 1   Products, and to enjoin Defendant from continuing to violate the Unfair Competition
 2   Law or violating it in the same fashion in the future. Otherwise, the Class may be
 3   irreparably harmed and denied an effective and complete remedy if such an Order is
 4   not granted.
 5

 6
                                FOURTH CAUSE OF ACTION
 7
                                 Fraudulent Business Practices
 8                          Violation of The Unfair Competition Law
                               Bus. & Prof. Code §§ 17200, et seq.
 9

10
           108. Plaintiffs incorporate each and every allegation contained in the

11
     paragraphs above as if restated herein.

12         109. The UCL defines unfair business competition to include any “unlawful,
13   unfair or fraudulent” act or practice, as well as any “unfair, deceptive, untrue or
14   misleading” advertising. Cal. Bus. & Prof. Code §17200.
15
           110. A business act or practice is “fraudulent” under the Unfair Competition
16
     Law if it actually deceives or is likely to deceive members of the consuming public.
17

18
           111. Defendant’s acts and practices of mislabeling its Products in a manner to

19
     suggest they contain ingredients in promised amounts which they do not contain.

20         112. As a result of the conduct described above, Defendant has been, and will
21   continue to be, unjustly enriched at the expense of Plaintiff and members of the
22   proposed Class. Specifically, Defendant has been unjustly enriched by the profits it
23   has obtained from Plaintiff and the Class from the purchases of its Products.
24
           113. In accordance with California Business & Professions Code Section
25
     17203, and as Plaintiffs lack an adequate remedy at law, they seek an order enjoining
26
     Defendant from continuing to conduct business through unlawful, unfair, and/or
27
     fraudulent acts and practices and to commence a corrective advertising campaign.
28

                                                     23
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 1         114. Through their fraudulent acts and practices, Defendant has improperly
 2   obtained, and continues to improperly obtain, money from members of the Class. As
 3   such, Plaintiffs request that this Court cause Defendant to restore this money to
 4   Plaintiffs and the Class, to disgorge the profits Defendant has made, and to enjoin
 5   Defendants from continuing to violate the Unfair Competition Law or violating it in
 6   the same fashion in the future. Otherwise, the Class may be irreparably harmed and
 7   denied an effective and complete remedy if such an Order is not granted.
 8

 9
                                FIFTH CAUSE OF ACTION
10
                                     False Advertising
11          Violation of California Business & Professions Code §§ l7500, et seq.
12
           115. Plaintiffs incorporate each and every allegation contained in the
13
     paragraphs above as if restated herein.
14

15         116. Defendant uses advertising and packaging to sell its Products. Defendant
16   disseminates advertising regarding its Products which by their very nature are
17   deceptive, untrue, or misleading within the meaning of California Business &
18   Professions Code §§17500, et seq. because those advertising statements contained on
19   the labels are misleading and likely to deceive, and continue to deceive, members of
20   the putative Class and the general public.
21         117. In making and disseminating the statements alleged herein, Defendant
22   knew or should have known that the statements were untrue or misleading, and acted
23   in violation of California Business & Professions Code §§17500, et seq.
24
           118. The misrepresentations and non-disclosures by Defendant of the material
25
     facts detailed above constitute false and misleading advertising and therefore
26
     constitute a violation of California Business & Professions Code §§17500, et seq.
27

28

                                                    24
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 1         119. Through their deceptive acts and practices, Defendant has improperly and
 2   illegally obtained money from Plaintiff and the members of the Class. As such,
 3   Plaintiff requests that this Court cause Defendant to restore this money to Plaintiff and
 4   the members of the Class, and to enjoin Defendant from continuing to violate
 5   California Business & Professions Code §§17500, et seq., as discussed above.
 6   Otherwise, Plaintiff and those similarly situated will continue to be harmed by
 7   Defendant’s false and/or misleading advertising.
 8
           120. Pursuant to California Business & Professions Code §17535, Plaintiffs
 9
     seeks an Order of this Court ordering Defendant to fully disclose the true nature of its
10
     misrepresentations. Plaintiffs additionally request an Order: (1) requiring Defendant to
11
     disgorge its ill-gotten gains, (2) award full restitution of all monies wrongfully
12
     acquired by Defendant, and (3) interest and attorneys’ fees. Plaintiffs and the Class
13
     may be irreparably harmed and denied an effective and complete remedy if such an
14
     Order is not granted.
15

16
                                SIXTH CAUSE OF ACTION
17                     Violation of the Consumers Legal Remedies Act
                            California Civil Code §§ 1750, et seq.
18                            (On behalf of the California Class)
19
           121. Plaintiffs incorporate each and every allegation contained in the
20
     paragraphs above as if restated herein.
21

22
           122. This cause of action is brought pursuant to the Consumers Legal

23
     Remedies Act, California Civil Code §§1750, et seq. (the “CLRA”).

24         123. Plaintiffs and each member of the proposed Class are “consumers” within
25   the meaning of Civil Code §1761(d).
26

27

28

                                                    25
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 1         124. The purchases of the Products by consumers constitute “transactions”
 2   within the meaning of Civil Code §1761(e) and the Products constitute “goods” within
 3   the meaning of Civil Code §1761(a).
 4
           125. Defendant has violated, and continues to violate, the CLRA in at least the
 5
     following respects:
 6
                     a. §1770(5) pertaining to misrepresentations regarding the
 7                      characteristics of goods sold—specifying that misleading
 8                      representations regarding ingredients violate the CLRA;
 9                   b. §1770(7) pertaining to misrepresentations regarding the standard,
                        quality, or grade of goods sold; and
10
                     c. § 1770(9) pertaining to goods advertised with the intent not to
11
                        provide what is advertised.
12

13
           126. Defendant knew, or should have known, that the labeling of its Products

14
     violated consumer protection laws, and that these statements would be relied upon by

15
     Plaintiff and the members of the Class.

16         127. The representations were made to Plaintiffs and all members of the Class.
17   Plaintiffs relied on the accuracy of the representations on Defendant’s labels which
18   formed a material basis for their respective decisions to purchase the Products.
19   Moreover, based on the very materiality of Defendant’s misrepresentations uniformly
20   made on or omitted from their Product labels, reliance may be presumed or inferred
21   for all members of the Class.
22
           128. Defendant carried out the scheme set forth in this Complaint willfully,
23
     wantonly, and with reckless disregard for the interests of Plaintiffs and the Class, and
24
     as a result, Plaintiffs and the Class have suffered an ascertainable loss of money or
25
     property.
26

27
           129. Plaintiffs and the members of the Class request that this Court enjoin

28
     Defendant from continuing to engage in the unlawful and deceptive methods, acts and

                                                    26
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 1   practices alleged above, pursuant to California Civil Code §1780(a)(2). Unless
 2   Defendant is permanently enjoined from continuing to engage in such violations of the
 3   CLRA, future consumers of Defendant’s Products will be damaged by their acts and
 4   practices in the same way as have Plaintiffs and the members of the proposed Class.
 5
           130. On October 17, 2024, Plaintiffs served and Defendant received a CLRA
 6
     demand pursuant to Civil Code §1782, notifying Defendant of the conduct described
 7
     herein and that such conduct was in violation of particular provisions of Civil Code
 8
     §1770. More than 30 days have passed since receipt of the Demand without
 9
     Defendant providing a proper remedy. Accordingly, Plaintiffs seek the full measure of
10
     damages pursuant to Civil Code § 1780(a).
11

12
                              SEVENTH CAUSE OF ACTION
13                Restitution Based On Quasi-Contract/Unjust Enrichment
14
           131. Plaintiffs incorporate each and every allegation contained in the
15
     paragraphs above as if rewritten herein.
16

17
           132. Plaintiffs plead this cause of action in the alternative.

18         133. Defendant’s conduct in enticing Plaintiffs and the Class to purchase its
19   Products with false and misleading packaging is unlawful because the statements
20   contained on the Defendant’s Product labels are untrue.
21
           134.    Defendant took monies from Plaintiffs and the Class for these Products
22
     and have been unjustly enriched at the expense of Plaintiffs and the Class as a result of
23
     their unlawful conduct alleged herein, thereby creating a quasi-contractual obligation
24
     on Defendant to restore these ill-gotten gains to Plaintiffs and the Class. It is against
25
     equity and good conscience to permit Defendant to retain the ill-gotten benefits
26
     received from Plaintiffs and Class members.
27

28

                                                     27
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 1         135. As a direct and proximate result of Defendant’s unjust enrichment,
 2   Plaintiffs and the Class are entitled to restitution or restitutionary disgorgement in an
 3   amount to be proved at trial.
 4

 5

 6
                                     PRAYER FOR RELIEF

 7         THEREFORE, Plaintiffs, on behalf of themselves and on behalf of the other
 8   members of the Class and for the Counts so applicable on behalf of the general public
 9   request an award and relief as follows:
10
           A.     An order certifying that this action is properly brought and may be
11
     maintained as a class action, that Plaintiffs be appointed Class Representatives, and
12
     Plaintiffs’ counsel be appointed Lead Counsel for the Class.
13

14
           B.     Restitution in such amount that Plaintiffs and all members of the Class

15
     paid to purchase Defendant’s Product or restitutionary disgorgement of the profits

16
     Defendant obtained from those transactions, for Causes of Action for which they are

17
     available.

18         C.     Compensatory damages for Causes of Action for which they are
19   available.
20
           D.     Statutory penalties for Causes of Action for which they are available.
21

22
           E.     Punitive Damages for Causes of Action for which they are available.

23         F.     A declaration and Order enjoining Defendant from marketing and
24   labeling its Products deceptively, in violation of laws and regulations as specified in
25   this Complaint.
26
           G.     An Order awarding Plaintiffs their costs of suit, including reasonable
27
     attorneys’ fees and pre and post judgment interest.
28

                                                    28
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 1         H.     An Order requiring an accounting for, and imposition of, a constructive
 2   trust upon all monies received by Defendant as a result of the unfair, misleading,
 3   fraudulent and unlawful conduct alleged herein.
 4
           I.     Such other and further relief as may be deemed necessary or appropriate.
 5

 6
                                 DEMAND FOR JURY TRIAL
 7

 8         Plaintiffs hereby demand a trial by jury on all causes of action or issues so triable.
 9

10   DATED: May 13, 2025                            Respectfully submitted,
11

12

13                                                  __________________________
14                                                  Michael D. Braun
                                                    KUZYK LAW, LLP
15                                                  2121 Avenue of the Stars, Ste. 800
16                                                  Los Angeles, California 90067
                                                    Telephone: (213) 401-4100
17                                                  Email: mdb@kuzykclassactions.com
18
                                                    Counsel for Plaintiffs
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                   COMPLAINT FOR DAMAGES, EQUITABLE, DECLARATORY, AND INJUNCTIVE RELIEF
